       Case 1:22-cr-00361-MLG           Document 110         Filed 11/27/23      Page 1 of 8




                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO
                                ____________________

UNITED STATES OF AMERICA,

       Plaintiff,
                                                                      Case No. 1:22-cr-00361-MLG
v.

RAYSHAWN BOYCE and
MARQUAE KIRKENDOLL,

       Defendants.

                    MEMORANDUM OPINION AND ORDER GRANTING
                      THE UNITED STATES’ MOTION IN LIMINE

       This matter comes before the Court on the United States’ motion in limine filed on

February 17, 2023. Doc. 61. Defendant Marquae Kirkendoll filed a response, Doc. 65, to which

co-defendant Rayshawn Boyce joined. Doc. 93. Having reviewed the parties’ submissions and the

applicable law, and having held a James hearing 1 on October 26, 2023, the Court grants the motion.

                                        BACKGROUND 2

       On the morning of January 18, 2022, in Bernalillo County, New Mexico, a doorbell camera

captured two individuals pulling a postal worker out of his mail truck by the back of his shirt,

throwing him to the ground, and demanding his postal keys at gunpoint. Doc. 72 at 1-2. The




1
  “A James hearing is a proceeding to determine the admissibility of a statement made by a co-
conspirator.” United States v. Garcia, 74 F.4th 1073, 1130 (10th Cir. 2023). At the hearing, the
district court has discretion to consider “any evidence not subject to a privilege, including both the
coconspirator statements the government seeks to introduce at trial and any other hearsay evidence,
whether or not that evidence would be admissible at trial.” United States v. Owens, 70 F.3d 1118,
1124 (10th Cir. 1995).
2
 The Court summarized the relevant underlying facts in its June 13, 2023, Memorandum Opinion
and Order, Doc. 83, and incorporates that discussion by reference here. The Court provides
additional background for the purpose of resolving the present motion.


                                                  1
         Case 1:22-cr-00361-MLG          Document 110        Filed 11/27/23      Page 2 of 8




footage captured the assailants making the following statements: “Give me the keys!” “We want

the keys,” “Take ‘em off,” and “Put that on the ground.” Doc. 61 at 2. The postal worker complied

with the assailants’ demands, detaching his keys from his service belt and turning them over. Doc.

69 at 19. Eventually, police investigators narrowed in on Boyce and Kirkendoll as the two suspects

seen in the footage.

         The police investigation revealed two additional sets of statements that were significant.

First, Postal Inspector Kelly McNulty interviewed Boyce on February 15, 2022. Doc. 61 at 2; Doc.

106 at 79:1-10. During that interview, Boyce recounted a conversation he had with an acquaintance

named “B.” 3 Doc. 61 at 2. He had asked B about what she knew about arrow keys. Id. In response,

B allegedly told Boyce that the keys open mailboxes. Id. Second, police discovered the following

Snapchat exchange (which took place after the robbery) between Boyce and Kirkendoll, whose

handle was “QuaeeMurdaa”:

         QuaeeMurdaa: Just got my [vehicle] towed
         QuaeeMurdaa: Instant Karma [three laughing/crying face emojis]
         QuaeeMurdaa: T$$$$. Had to pay to get my [vehicle] back. Finna hit yo line
         Boyce: Let me get started. I ain’t gon hit the blues yet I wanna see if that key work
         on the west
         ...
         QuaeeMurdaa: Bet

Id. at 3; see Doc. 106 at 57:9-12.

         Boyce and Kirkendoll were eventually arrested and charged with inter alia robbery of a

postal employee, contrary to 18 U.S.C. § 2114(a), and conspiracy to commit using, carrying, and

brandishing a firearm during and in relation to a crime of violence and possessing and brandishing

a firearm in furtherance of such a crime, contrary to 18 U.S.C. § 924(c)(1)(A)(ii), (o). Doc. 31 at




3
    B allegedly had previous experience working for the U.S. Postal Service. Doc. 61 at 2.



                                                  2
       Case 1:22-cr-00361-MLG             Document 110         Filed 11/27/23       Page 3 of 8




1-3.

                                            DISCUSSION

        The Government seeks the Court’s “pretrial findings that [certain] evidence is admissible

as either coconspirator statements, or admissible under other exceptions or exclusions from the

hearsay rule.” Doc. 61 at 1. These statements include (1) the statements allegedly made by

Defendants as captured by the doorbell camera; (2) the statements made between Boyce and B; 4

and (3) the Snapchat conversation between Boyce and Kirkendoll. Id. at 3. Because Boyce and

Kirkendoll concede that the statements captured on the doorbell camera footage are not hearsay,

see Doc. 106 at 16:14-16; 21:17-19, the Court concludes that those statements are admissible non-

hearsay. The Court limits its analysis to the statements between Boyce and B and the Snapchat

conversation between Boyce and Kirkendoll.

I.      The statements are non-hearsay under Rule 801(c).

        Hearsay is “a statement that[] (1) the declarant does not make while testifying at the current

trial or hearing; and (2) a party offers in evidence to prove the truth of the matter asserted in the

statement.” Fed. R. Evid. 801(c). A statement is defined as “a person’s oral assertion, written

assertion, or nonverbal conduct, if the person intended it as an assertion.” Fed. R. Evid. 801(a).

Accordingly, if a declarant’s statement is not intended as an assertion, it is not hearsay. Likewise,

if a declarant’s statement is not offered for the truth of the matter asserted, it is not hearsay. Hearsay

is generally inadmissible. Fed. R. Evid. 802.

        The Court concludes that the statements made between Boyce and B and the Snapchat



4
  It bears mentioning that the conversation between Boyce and B consists of statements made
within a statement: (1) Boyce’s question to B and her response and (2) Boyce’s recounting of this
conversation to Inspector McNulty. See Doc. 61 at 2. The Court only addresses the former in this
analysis and reserves ruling on the latter if the Government elicits testimony from witnesses other
than B about this conversation.


                                                    3
       Case 1:22-cr-00361-MLG            Document 110         Filed 11/27/23       Page 4 of 8




exchange between Boyce and Kirkendoll are not hearsay. First, the question by Boyce to B is—

by definition—not hearsay because it does not contain an assertion. See, e.g., United States v.

Cesareo-Ayala, 576 F.3d 1120, 1127-29 (10th Cir. 2009) (concluding that questions asserting

nothing were not hearsay); see also United States v. Jackson, 88 F.3d 845, 848 (10th Cir. 1996)

(“The mere fact . . . that the declarant conveyed a message with her question does not make the

question hearsay.”). And B’s response is not hearsay because the Government is not offering it for

the truth of the matter asserted (i.e., that the arrow keys in fact unlocked the blue mailboxes) but

instead to show the effect upon the listener (i.e., that Boyce would allegedly use the information

to inform his ultimate conspiracy to rob the postal carrier). See Faulkner v. Super Valu Stores, Inc.,

3 F.3d 1419, 1434 (10th Cir. 1993) (explaining that statements offered not to prove the truth of the

statements but rather “offered for the effect on the listener . . . are generally not hearsay”); United

States v. Smalls, 605 F.3d 765, 785 n.18 (10th Cir. 2010) (same). Accordingly, if the Government

seeks to elicit testimony about these statements directly from B, these statements are not hearsay

and are admissible. 5

        Similarly, the Snapchat messages are not hearsay. The Government does not intend to offer

the exchange for the truth of anything asserted. The statements are not being offered, for example,

to prove that karmic energy resulted in Kirkendoll’s car being towed or that Boyce had not yet

opened blue mailboxes. Instead, the Government will introduce these statements for the mere fact

that they were made. See Fed. R. Evid. 801 advisory committee’s note to subdivision (c)

(explaining that “[i]f the significance of an offered statement lies solely in the fact that it was made,




5
  The Government intends to elicit testimony from B about her conversation with Boyce. See, e.g.,
Doc. 106 at 11:4-8. If it in fact does so, then Boyce and Kirkendoll may raise objections at trial.
Likewise, if the Government seeks to admit these statements through Inspector McNulty’s
testimony, then Boyce and Kirkendoll may raise speaking objections at trial.


                                                   4
       Case 1:22-cr-00361-MLG           Document 110        Filed 11/27/23      Page 5 of 8




no issue is raised as to the truth of anything asserted, and the statement is not hearsay”); see also

United States v. Faulkner, 439 F.3d 1221, 1226 (10th Cir. 2006). The messages show Kirkendoll

was aware of the arrow key and the purpose of the key (to open mailboxes). And neither Boyce

nor Kirkendoll challenge the truth of anything asserted in the messages. These statements are not

hearsay and are admissible.

II.    Boyce’s question to B and the Snapchat messages are admissible as coconspirator
       statements under Rule 801(d)(2)(E).

       A statement is admissible non-hearsay where it is “offered against an opposing party and

. . . was made by the party’s coconspirator during and in furtherance of the conspiracy.” Fed. R.

Evid. 801(d)(2)(E). The party moving to admit a statement under this category must prove the

following elements by a preponderance of the evidence: (1) a conspiracy existed; (2) the defendant

and the declarant were members of the conspiracy; and (3) the statements were made during and

in furtherance of the conspiracy. See Owens, 70 F.3d at 1123. Under the first element, the moving

party must provide some independent evidence showing that “(1) there was an agreement to violate

the law, (2) the declarant knew the essential objectives of the conspiracy, (3) the declarant

knowingly and voluntarily took part in the conspiracy, and (4) the coconspirators were

interdependent.” United States v. Rutland, 705 F.3d 1238, 1249 (10th Cir. 2013) (citing United

States v. Ailsworth, 138 F.3d 843, 850-51 (10th Cir. 1998)); United States v. Martinez, 825 F.2d

1451, 1453 (10th Cir. 1987) (clarifying that “independent evidence” means “evidence other than

the proffered statement”). The Court may consider inferential evidence including the defendant’s

conduct or other circumstantial evidence suggesting coordination or concert of action, United

States v. Wardell, 591 F.3d 1279, 1287 (10th Cir. 2009), or the hearsay statements themselves.

United States v. Parra, 2 F.3d 1058, 1069 (10th Cir. 1993).

       In this case, Boyce’s question to B about the arrow key may alternatively be admitted



                                                 5
       Case 1:22-cr-00361-MLG           Document 110        Filed 11/27/23      Page 6 of 8




against Kirkendoll as a coconspirator statement. At the James hearing, the Court heard testimony

from Inspector McNulty and received twenty-three (23) exhibits from the Government including

surveillance camera footage taken on the same day as and from the area surrounding the robbery. 6

See Doc. 106 at 31:16-19 (beginning of McNulty’s testimony); see also id. at 35:1-45:13

(testimony discussing surveillance camera footage).

       First, there is sufficient independent evidence for the Court to conclude that a conspiracy 7

to steal mail keys existed between Boyce and Kirkendoll, even if they merely came to a tacit mutual

understanding to so conspire. See United States v. Suntar Roofing, Inc., 897 F.2d 469, 474 (10th

Cir. 1990) (clarifying that there is no requirement to prove an express or formal agreement was

made). The Government produced the doorbell camera footage capturing the robbery of the mail

carrier. Doc. 106 at 32:10-12; Gov’t Exhibit 1. In the video, two subjects (alleged to be Boyce and

Kirkendoll) are seen pulling the mail carrier out of the mail truck and throwing him to the ground,

all while demanding the mail keys. Doc. 106 at 33:8-10. One of the subjects (believed to be Boyce)

was seen in the footage wearing a gray top and blue pants. Id. at 8:16-18. Police later recovered

the gray top and blue pants after executing a search warrant on a residence leased by Boyce’s



6
  This evidence is proper for the Court to consider in determining whether the Government has
carried its evidentiary burden to prove that there is a predicate conspiracy to support the admission
of statements under Rule 801(d)(2)(E). See Owens, 70 F.3d at 1124.
7
  As noted earlier, Boyce and Kirkendoll were charged with conspiracy to commit using, carrying,
and brandishing a firearm during and in relation to a crime of violence and possessing and
brandishing a firearm in furtherance of such a crime. Doc. 31 at 1-3. However, during the James
hearing, the Government specified that the conspiracy supporting the coconspirator statement was
“conspiracy to steal the mail keys.” Doc. 106 at 11:22-23. Notwithstanding the characterization of
the exact conspiracy alleged to support the coconspirator statements, the two conspiracies are
related: the conspiracy to use or brandish a firearm facilitated the conspiracy to steal mail keys.
See Rutland, 705 F.3d at 1247-48. Indeed, “[t]he conspiracy supporting the introduction of the out-
of-court statement need not be the same as the conspiracy charged in the indictment, so long as the
statement was in furtherance of the uncharged conspiracy.” Id. at 1248 n.4. As such, the Court’s
analysis presumes that the underlying conspiracy was to steal mail keys.


                                                 6
       Case 1:22-cr-00361-MLG          Document 110        Filed 11/27/23      Page 7 of 8




girlfriend, where Boyce was frequently an overnight guest. Doc. 83 at 3. More independent

evidence in the form of Snapchat messages between Boyce and Kirkendoll demonstrates that

Kirkendoll was aware that Boyce had an arrow key and confirmed Boyce’s expressed intentions

with the key. Gov’t Exhibit 16; Doc. 61 at 3. In addition, Kirkendoll’s phone number was pinged

in the same area as and at the time of the robbery. Doc. 106 at 55:16-23. Taken together, this

evidence demonstrates that Boyce and Kirkendoll agreed to violate the law (even if tacitly); knew

the essential objectives of the conspiracy (to steal mail keys); knowingly and voluntarily took part

in the conspiracy (both were seen in the footage); and were interdependent (Snapchat messages

suggest concert of action).

       Second, Boyce and Kirkendoll were members of the conspiracy—again, as demonstrated

by the doorbell camera footage and Snapchat messages. Lastly, although it is unclear the exact

date on which the conversation between Boyce and B occurred, the question was raised during and

in furtherance of the conspiracy because it served to elicit useful information to inform the next

steps of the conspiracy: assessing the potential rewards of setting out to steal mail keys. In sum,

the Court finds that the Government has shown by a preponderance of evidence that a conspiracy

existed; Boyce and Kirkendoll were members of that conspiracy; and that Boyce’s question to B

was asked during and in furtherance of the conspiracy. It is admissible non-hearsay under Rule

801(d)(2)(E).

       Likewise, the Snapchat conversation may alternatively be admitted against Boyce and/or

Kirkendoll as coconspirator statements. The same analysis from above applies for the first and

second prongs of the test. As for the third prong, the Snapchat messaging occurred during and in

furtherance of the conspiracy: it took place on the same day as the robbery and after the robbery

took place. See Doc. 106 at 12:5-15. And the chat concerned the fruits of the conspiracy which




                                                 7
       Case 1:22-cr-00361-MLG          Document 110         Filed 11/27/23     Page 8 of 8




had not yet been realized: the stealing of mail. See United States v. Morgan, 748 F.3d 1024, 1036

(10th Cir. 2014) (“A conspiracy continues until its central purpose has been attained.”). Because

the Government has demonstrated the requisite elements by a preponderance of evidence, see

Owens, 70 F.3d at 1123, the Snapchat exchange is alternatively admissible as coconspirator

statements. 8

                                         CONCLUSION

        For the foregoing reasons, the Court grants the motion. Doc. 61. It is so ordered.




                                                       UNITED STATES DISTRICT JUDGE
                                                       MATTHEW L. GARCIA




8
  As an aside, the Court notes that the Snapchat messages are not hearsay if the statements are
offered against the party who made them. See Fed. R. Evid. 801(d)(2)(A); United States v. Brinson,
772 F.3d 1314, 1317 (10th Cir. 2014) (holding that Facebook messages written by the defendant
were admissible against him as statements of a party opponent). Indeed, defense counsel for
Kirkendoll conceded this point at the James hearing. See Doc. 106 at 19:25-20:1-4 (“Now, I
understand that when it comes to [Kirkendoll’s] own [Snapchat] statements, he is dealing with the
fact that . . . those are statements of a party opponent[.]”). Consequently, Boyce’s Snapchat
messages are admissible against Boyce and Kirkendoll’s messages are similarly admissible against
Kirkendoll under Rule 801(d)(2)(A).


                                                 8
